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IN THE UNITED STATES DISTRICT COURT F | L E :
FOR THE DISTRICT OF MONTANA JAN 1.8 2019
BILLINGS DIVISION
Clerk, U S District Court

District Of Montana

Billings
UNITED STATES OF AMERICA,

CR 17-76-BLG-SPW

Plaintiff,
VS. COURT’S VERDICT AFTER

BENCH TRIAL

KEITH ALAN ROSE,

Defendant.

 

 

The Court held a bench trial on Count III of the indictment, which charged
that on or about November 2016, Defendant Keith Alan Rose possessed a firearm

in furtherance of a drug trafficking crime in violation of 18 U.S.C. §

924(c)(1)(A)(i). The Court finds Defendant Keith Alan Rose NOT GUILTY on

Count III.

DATED this /8 day of January, 2019.

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SUSAN P. WATTERS
United States District Judge
